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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  :
 ATLAS MASTER FUND, LTD., ATLAS                                   :   Civil Action No.
 LEVERAGED MASTER FUND, LTD., and                                 :
 LYXOR/BALYASNY ATLAS ENHANCED                                    :
 FUND, LTD.                                                       :
                                                                  :   PLAINTIFFS’ RULE 7.1
                            Plaintiffs,                           :   STATEMENT
                                                                  :
                               v.                                 :
                                                                  :
 AMERICAN REALTY CAPITAL PROPERTIES,                              :
 INC. n/k/a VEREIT, INC., NICHOLAS S.                             :
 SCHORSCH, DAVID S. KAY, BRIAN S. BLOCK, :
 and LISA P. MCALISTER,

                            Defendants.
------------------------------------------------------------------x

        Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, the undersigned counsel

for Plaintiffs Atlas Master Fund, Ltd., Atlas Leveraged Master Fund, Ltd., and Lyxor/Balyasny

Atlas Enhanced Fund, Ltd. (collectively, “Plaintiffs”) hereby certifies as follows.

        Atlas Master Fund, Ltd. has no parent corporations, and no publicly held corporation

owns 10% or more of Atlas Master Fund, Ltd.’s stock.

        Atlas Leveraged Master Fund, Ltd. has no parent corporations, and no publicly held

corporation owns 10% or more of Atlas Leveraged Master Fund, Ltd.’s stock.

        Lyxor/Balyasny Atlas Enhanced Fund, Ltd. has no parent corporations, and no publicly

held corporation owns 10% or more of Lyxor/Balyasny Atlas Enhanced Fund, Ltd.’s stock.
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Dated: July 8, 2016                   LOWENSTEIN SANDLER LLP
       New York, New York


                                   By:_/s/ Lawrence M. Rolnick
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